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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


UNITED STATES OF AMERICA


       V.                                           CR 612-018-17


TERRANCE GERARD STANTON




                                     ORDER




       Defendant    Terrance    Gerard    Stanton    has   filed   a   motion    for


reduction    in    sentence    pursuant      to   the   compassionate       release

provision of 18 U.S.C. § 3582(c)(1)(A).                 The Government opposes

the    motion.        Upon     due     consideration,      the     Court     denies

Stanton's request for relief.

       The compassionate release provision provides a narrow path

for a District Court to grant release to a defendant if it finds

that ^^extraordinary and compelling reasons" warrant such relief

and that release is ""consistent with applicable policy statements

issued by the [United States] Sentencing Commission."                    18 U.S.C.

§ 3582(c)(1)(A).        Section      1B1.13 of    the   Sentencing       Guidelines

provides    the    applicable       policy   statement,     explaining      that   a

sentence reduction may be ordered where a court determines, upon

consideration of the factors set forth in 18 U.S.C. § 3553(a),

that   ""extraordinary       and     compelling     reasons"     exist     and   the

defendant does not present a danger to the safety of any other

person or the community.           U.S.S.G. § 1B1.13.      The application note
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to    this     policy    statement     lists       three    specific         examples    of

extraordinary and compelling reasons to consider reduction of a

defendant's       sentence     under     §       3582(c)(1)(A):        (1)    a   medical

condition; (2) advanced age; and (3) family circumstances. Id.

n.l(A)-(C).      A fourth catch-all category provides: ''As determined

by the Director of the Bureau of Prisons, there exists in the

defendant's      case    an   extraordinary        and   compelling      reason        other

than,     or    in      combination      with,"      the        aforementioned         three

categories.      Id. n.l(D).

        In this case, Stanton claims to have a qualifying medical

condition,      i.e.,    sickle   cell    anemia.          He   also   claims     to    have

"hyperbilirubinemia, elevated creatine kinase, and a disease of

blood forming organs unspecified."                  (Def.'s Mot., Doc. 1448, at

1.)    Stanton claims that these conditions, in conjunction with the

potential adverse effects to him should he contract COVID-19, place

him in extraordinary and compelling circumstances warranting early

release.       Indeed, there are certain medical conditions that "can

make [a person] more likely to get severely ill from COVID-19."

See Centers for Disease Control &                 Prevention,       Certain       Medical

Conditions,       available at        https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html

(last visited on April 29, 2021).                 While sickle cell anemia is on

this list, Stanton's inmate medical records show that he does not

have sickle cell anemia; rather, he has the sickle cell trait.

(See generally, Gov't Resp. in Opp'n, Doc. 1449, at 10-17 & Ex.
                                             2
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A.)i   As the Government explains, people with the sickle cell trait

usually do not have any of the symptoms of sickle cell disease.

(Id.     at    12-13      (cited       sources   omitted)).          Moreover,

hyperbilirubinemia is not on the list.                To the extent that his

medical records mention his creatine level and an unspecified blood

disease on a single occasion, the note is unspecific and certainly

does not indicate that these conditions are life-threatening or

compromising.     (See id., Ex. A, at 18.)           In fact, the medical note

indicates that Stanton's creatin level is probably elevated due to

recent intense exercise regimen.             (Id.)

       Importantly, Stanton already contracted COVID-19 on March 25,

2021, and it was considered resolved on April 5, 2021 following

quarantine.      (Id. at 96.)          On April 8, 2021, however, Stanton

experienced chest pain and shortness of breath and was taken to a

hospital, where an EKG and CT chest scan were negative.                  Stanton

was cleared by cardiology and returned to prison on April 11, 2021.

(Id. at 3-4.)     A medical assessment on April 11, 2021 shows that

Stanton did not have chest pain or shortness of breath or any other

medical issue.        (Id. at 4.)

       Through his motion, Stanton uses this incident and his alleged

medical conditions to contend that he is particularly susceptible

to adverse effects from the COVID-19 virus.             He iterates throughout




^      Upon   due consideration, the Court GRANTS the             Government's
motion   to    seal    (doc.   1450)    Stanton's     inmate   medical   records
attached as Exhibit A to its response in opposition.
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his motion that the prison is not properly monitoring him and is

providing only minimal care.             He concludes that he should be

released from prison in order to receive proper medical care.2

     Upon consideration of the medical records and the briefs of the

parties, the Court is unconvinced that Stanton has carried the burden

of showing that his circumstances are sufficiently extraordinary and

compelling to warrant immediate release. In fact, the medical records

show that Stanton is receiving proper medical care and in no way

indicate that he suffers from any inability to care for himself.

Also, as of April 29, 2021, FCI Coleman Low had no active COVID cases

among staff or inmates.          https;//www.bop.gov/coronavirus/index.jsp

(last visited on April 29, 2021).            Further, FCC Coleman has fully

inoculated 510 staff members and 1896 inmates.             Id.     Accordingly,

Stanton's risk of future exposure to COVID-19 has been significantly

diminished.


     Even if Stanton's medical status presented extraordinary and

compelling circumstances, the Court retains discretion over whether

to grant relief and must weigh the sentencing factors of 18 U.S.C.

§ 3553(a) prior to release.           See 18 U.S.C. § 3582(c)(1)(A).        Upon

careful consideration thereof, the Court particularly notes that

the nature of his offense, the history and characteristics of this

Defendant,    and   the   need   to    protect   the   public    weigh   against




2 To the extent that Stanton is challenging the conditions of his
confinement or asserting a claim of deliberate indifference to
medical care, he must do so through a civil lawsuit brought
pursuant to 42 U.S.C. § 1983 in the district of his confinement.
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reducing his sentence to time served.             Stanton was involved in a

large-scale drug distribution organization, and he was attributed

with at least 8.09 kilograms of powder cocaine and 403 grams of

crack cocaine.       {Presentence Investigation Report SI 14.)             During

at least six recorded phone calls, Stanton described regularly

carrying a gun.      (Id. SISI 10, 23.)     This Court originally sentenced

him to life imprisonment, and while his sentence was later reduced

to 365 months, Stanton still has over seventeen years remaining on

his sentence.        Early release      of this     Defendant    would fail to

reflect the seriousness of his offense, promote respect for the

law, provide just punishment, and afford adequate deterrence.

        In    conclusion,    having    determined    that    Stanton     has   not

presented extraordinary and compelling reasons to justify release

and that reducing his sentence at this time would not be consistent

with    the    statutory    purposes   of   sentencing.     Defendant    Terrance

Gerard Stanton's motion for compassionate release (doc. 1448) is

DENIED.


       ORDER ENTERED at Augusta, Georgia, this               ^s-Oday     of May,

2021.




                                             J. RANDAL HALL,/ CHIEF JUDGE
                                             UNITEl/ STATES DISTRICT COURT
                                                    :RN   DISTRICT   OF GEORGIA
